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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY



  THE HOMESOURCE, CORP.                :    CIVIL ACTION
                                       :
           V.                          :    NO.: 18-CV-11970
                                       :
  RETAILER WEB SERVICES, LLC.          :


                                  O R D E R


       AND NOW, on this 3rd day of September,2020, it is hereby ORDERED

 that the telephone pretrial conference and hearing to consider pending

 motions    (ECF#:    194,195,196,200&211)       previously    scheduled   for

 September 22, 2020 is here by RESCHEDULED and will now be held on

 October 8, 2020 at 10:00 a.m. before the Honorable Eduardo C. Robreno.

 Call-in    instructions    are   as       follows:    Telephone:    888-684-

 8852/Passcode: 4218221#.




                              /s/ Eduardo C. Robreno
                              EDUARDO C. ROBRENO,    J.
